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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

   Civil Action No. 13-cv-03309-REB-KMT

   MARTIN THOMAS WIRTH,

          Plaintiff,
   v.

   JOHN HICKENLOOPER, in his official capacity as Governor of Colorado, et al.,

          Defendant.


                                          FINAL JUDGMENT


          In accordance with the orders filed during the pendency of this case, and pursuant to Fed.

   R. Civ. P. 58(a), the following Final Judgment is hereby entered.

          Pursuant to the Order Adopting Recommendation of the United States Magistrate

   Judge [#110] of Judge Robert E. Blackburn entered on September 10, 2015 it is

          ORDERED that all plaintiff’s claims in this lawsuit, other than his putative RICO

   claim, are dismissed with prejudice;

          ORDERED that plaintiff’s putative RICO claim is dismissed without prejudice;

          ORDERED that judgment shall enter in favor of defendants, John Hickenlooper, in

   his official capacity as Governor of Colorado; Stephen A. Groome, Judge – 11th District

   Court Judge; Arthur R. Smith, Senior Judge – Retired from Mesa County Court;

   Michelle Miller, in her official capacity as Public Trustee of Park County; Nationstar

   Mortgage, LLC (Nationstar); Jay Bray, Chief Executive of Nationstar in his corporate

   and individual capacity; Federal National Mortgage Association (FNMA), Timothy

   Mayopoulos, Chief Executive of FNMA in his corporate and individual capacities; The

   Castle Law Group, LLC (CLG); Cynthia Lowery-Graber, CLG Attorney; Deanna

   Westfall, CLG Attorney; Britney Beall-Eder, CLG Attorney; Christopher T. Groen, CLG

   Attorney; Lawrence E. Castle, Chief Executive of CLG in his corporate and individual

   capacities; Fred Wegener, individually and in his official capacities; and Mary Hager,
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   individually, and against plaintiff, Martin Thomas Wirth, as follows:

           Without prejudice as to plaintiff’s putative RICO claim; and

           With prejudice as to all other claims asserted herein; and

           ORDERED that defendants are awarded their costs, to be taxed by the clerk of the

   court in the time and manner required by Fed. R. Civ. P. 54(d)(1) and D.C.COLO.LCivR

   54.1.

            Dated at Denver, Colorado this 10th day of September, 2015.

                                                      FOR THE COURT:
                                                      JEFFREY P. COLWELL, CLERK

                                                   By: s/   K. Finney
                                                            K. Finney
                                                            Deputy Clerk
